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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                                  Criminal No. 1 4 - d -
      v.

DANIEL O'CONNOR                                   18 U.S.C. §§ 1707 and 2


                                 INFORMATION


      The defendant having waived in open court prosecution by indictment, the

United States Attorney for the District of New Jersey charges:

      From in or about July 2012 through on or about June 8, 2013, at

Camden, in Camden County, in the District of New Jersey, and elsewhere,

defendant

                              DANIEL O'CONNOR

did knowingly and intentionally steal, purloin, or embezzle property used by

the Postal Service.

      In violation of Title 18, United States Code, Section 1707, and Title 18,

United States Code, Section 2.


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                                     PAUL J. FISHMAN
                                     UNITED STATES ATTORNEY
